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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

FORD GLOBAL TECHNOLOGIES, LLC, §
                               §
        Plaintiff,             §
                               §
v.                             §                          Civil Action No. 3:17-CV-3201-N
                               §
NEW WORLD INTERNATIONAL, INC., §
et al.,                        §
                               §
        Defendants.            §

                      MEMORANDUM OPINION AND ORDER

       This Order addresses Ford Global Technologies, LLC’s (“Ford”) motions for

attorneys’ fees and costs, and for injunctive relief [350], [352], as well as Defendants’ (“New

World”) motions for judgment as a matter of law and for new trial. The Court grants and

denies the motions in part, as set forth below.

                               I. ORIGINS OF THE DISPUTE

       This case involves New World’s copying of thirteen of Ford’s design patents. The

Court previously granted Ford’s motion for summary judgment, finding infringement as a

matter of law. The case was subsequently tried to a jury, who found willful infringement and

awarded damages in the amount of $493,057.00 to Ford.

      II. THE COURT GRANTS IN PART FORD’S MOTION FOR ATTORNEYS’ FEES

       The Court grants Ford’s motion for attorneys’ fees and costs, but denies Ford’s motion

with respect to expert fees and any upward adjustment of the lodestar amount.




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                                    A. Legal Standard

       In exceptional cases, a district court may award reasonable attorneys’ fees to the

prevailing party. 35 U.S.C. § 285. Reasonable attorneys’ fees include those expenses

incurred in the preparation for and performances of legal services related to the case and

nontaxable costs. Maxwell v. Angel-Etts of Cal., Inc., 53 F. App’x 561, 569 (Fed. Cir. 2002).

In addition, a district court has wide discretion whether to award costs under Federal Rule

of Civil Procedure 54(d). Energy Mgmt. Corp. v. City of Shreveport, 467 F.3d 471 (5th Cir.

2006). But if a district court does not award costs, it must state its reasons. Id.

       An exceptional case “stands out from others with respect to the substantive strength

of a party’s litigation position (considering both the governing law and the facts of the case)

or the unreasonable manner in which the case was litigated.” Octane Fitness, LLC v. ICON

Health & Fitness, Inc., 572 U.S. 545, 554 (2014). A case brought in subjective bad faith or

that makes especially meritless claims is exceptional and warrants a fee award. Id. District

courts determine whether a given case is exceptional on a case-by-case basis and in light of

the totality of the circumstances. Id. Factors to be considered include frivolousness,

motivation, and objective unreasonableness of a case’s factual or legal components. Id. at

554 n.6. Litigants seeking fees must show the case is exceptional by a preponderance of the

evidence. Id. at 557.

       Section 285, however, does not authorize an award of expert fees. Amsted Indus. Inc.

v. Buckeye Steel Castings Co., 23 F.3d 374, 376 (Fed. Cir. 1994). Instead, a district court has

inherent authority to impose sanctions in the form of reasonable expert fees in excess of what


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is made available by statute. MarcTec, LLC v. Johnson & Johnson, 664 F.3d 907, 921 (Fed.

Cir. 2012). Only where a court finds fraud or bad faith, whereby the “very temple of justice

has been defiled,” may the court use its inherent authority to impose sanctions. Id. (quoting

Amsted, 23 F.3d at 378). Thus, not every case that qualifies as exceptional under Section 285

also warrants sanctions. Id.

                   B. The Court Holds that This Case Is Exceptional

       The Court holds that this case is exceptional and awards reasonable attorneys’ fees

to Ford. The jury found that New World willfully infringed all thirteen of Ford’s design

patents by digitally copying Ford’s original equipment manufacturer (“OEM”) parts and

selling them. Further, the testimony of James Ma and Patricia Zimmerman, two former vice

presidents at New World, showed that New World altered sales records to conceal its

infringement. Ford’s App. in Support of Mot. for Attys’ Fees (“APX”), APX 137–38,

141–42 [354]. New World additionally produced inaccurate sales records during the course

of discovery and misrepresented to Ford on multiple occasions that it would stop selling the

copied parts. Finally, New World filed multiple excessive motions, including motions to

dismiss, for clarification, and for reconsideration that unnecessarily prolonged litigation.

Accordingly, the Court holds that this case is exceptional and grants Ford’s motion with

respect to attorneys’ fees and costs.




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           C. The Court Denies Ford’s Motion with Respect to Expert Fees

       New World’s conduct does not, however, amount to fraud or abuse of the judicial

process. The inherent power to sanction is typically reserved for egregious rather than

simply inappropriate conduct. Amsted, 23 F.3d at 379. The Court does not find New

World’s conduct so egregious to warrant expert fees.

            D. The Court Awards $2,108,672.50 in Attorneys’ Fees to Ford

       Ford seeks a total of $2,108,672.50 in attorneys’ fees incurred during the four-year

period it spent litigating this case. Ford additionally requests that the Court increase the

lodestar amount by $489,915.94 pursuant to the Johnson factors. After reviewing Ford’s

evidence, including invoices and billing records, as well as New World’s objections, the

Court awards Ford $2,108,672.50 in attorneys’ fees, but denies Ford’s request for an upward

adjustment of the lodestar.

       To determine a reasonable fee award, courts calculate a “lodestar” amount by

multiplying a reasonable billing rate by the number of hours reasonably spent litigating the

successful claim. McClain v. Lufkin Indus., Inc., 519 F.3d 264, 284 (5th Cir. 2008); see also

Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551–52 (2010). This calculation, however,

excludes hours spent on “excessive, redundant, or otherwise unnecessary work” and on

nonprevailing claims unrelated to successful claims.          Hensley v. Eckerhart, 461

U.S. 424, 434–35 (1983). The Court may then increase or decrease the lodestar amount




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based on the factors enumerated in Johnson v. Ga. Highway Express, Inc., 488 F.2d 714,

717–19 (5th Cir. 1974).1

       Ford presented sufficient evidence that its counsel, Brooks Kushman P.C. and Forrest,

Burg, & Smith, LLC (local counsel), spent a reasonable number of hours (5987) litigating

this case over the past four years. APX 271–89 (Declaration of M Lorelli), APX 318–705

(billing invoices). Ford’s billing rates are likewise reasonable because they are below the

average prevailing hourly rates and are also all within the American Intellectual Property

Law Association (“AIPLA”) average rates. In re Dahlgren Int’l, Inc., 811 F. Supp. 1182,

1185 (N.D. Tex. Oct. 29, 1992) (citing Mathis v. Spears, 857 F.2d 794, 755–56 (Fed. Cir.

1988)) (recognizing the AIPLA “as a valid source in assessing customary fee in patent

cases”). New World complains only generally about Ford’s calculation of attorneys’ fees

and does not point to any specific flaws in Ford’s calculation or reference any specific time

entries or invoices showing excessive or duplicative work. Ford additionally discounted

almost 600 hours for time spent on clerical duties and for motions and submissions that were

either not filed or for which Ford did not prevail. APX 284.




       1
         The Johnson factors are: (1) the time and labor required to litigate the case; (2) the
novelty and difficulty of the questions involved; (3) the skill required to perform the legal
services properly; (4) whether taking the case precluded the attorney from other employment;
(5) the customary fee for similar work in the community; (6) whether the fee is fixed or
contingent; (7) time limitations imposed by the client or the circumstances; (8) the amount
involved and the results obtained; (9) the experience, reputation, and ability of the attorneys;
(10) the “undesirability” of the case; (11) the nature and length of the attorney-client
relationship; and (12) awards made in similar cases.


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       Ford also requests an upward adjustment of the lodestar to account for two separate

declaratory judgment actions New World filed. The Court, however, does not find that the

Johnson factors warrant an upward adjustment on this basis. Accordingly, the Court

determines the lodestar to be $2,108,672.50.

              III. THE COURT GRANTS FORD’S MOTION FOR INJUNCTION

       Ford seeks a permanent injunction against New World enjoining New World and

related entities from continuing to willfully infringe eight (8) of Ford’s design patents that

are not expired and still effective. New World notes, however, that as of February 2019, only

four of the patents in suit are still unexpired.2 Ford additionally seeks New World’s profits

for sales related to the eight non-expired patents made between June 22, 2018 (the date of

the expert reports) and the date of the permanent injunction. Additionally, Ford seeks New

World’s profits for sales related to the five remaining Ford design patents made between June

22, 2018 and the respective expiration date for each patent. Finally, Ford seeks pre and

postjudgment interest. The Court grants Ford’s motion, but modifies the permanent

injunction to only include the four remaining unexpired patents.

                                    A. Legal Standard

       The Patent Act permits the Court to “grant injunctions in accordance with the

principles of equity to prevent the violation of any right secured by patent, on such terms as

the court deems reasonable.” 35 U.S.C. § 283. “According to well-established principles


       2
          The four patents are: (1) D510,551 (Mustang Hood); (2) D508,223 (Mustang
Fender); (3) D582,065 (Mustang Headlamp); and (4) D539,448 (Mustang Taillamp).


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of equity, a plaintiff seeking a permanent injunction must satisfy a four-factor test before a

court may grant such relief. A plaintiff must demonstrate: (1) that it has suffered an

irreparable injury; (2) that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) that, considering the balance of hardships

between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public

interest would not be disserved by a permanent injunction.” eBay Inc. v. MercExchange,

L.L.C., 547 U.S. 388, 391 (2006). Moreover, “the decision to grant or deny injunctive relief

is an act of equitable discretion” by the district court. Id.

             B. The Court Grants Ford’s Motion for Permanent Injunction

       1. Ford Has Demonstrated Irreparable Injury — Ford and New World are direct

competitors. Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1363

(Fed. Cir. 2012) (“Direct competition in the same market is certainly one factor suggesting

strongly the potential for irreparable harm without enforcement of the right to exclude.”);

Trebro Mfg., Inc. v. Firefly Equip., LLC, 748 F.3d 1159, 1171 (Fed. Cir. 2014) (“[The

parties] are direct competitors selling competing products in this market. Thus, the record

shows a probability for irreparable harm.”). New World’s parts are digital copies of Ford’s

OEM parts, but are sold at a far lower price, which allows New World to undercut Ford’s

pricing by trading off Ford’s work. Moreover, Ford had demonstrated that New World’s

aftermarket products are of inferior quality and that Ford’s reputation is harmed when

customers attribute the low quality of New World’s products to Ford. New World’s willful

infringement has forced Ford to compete against its own innovative designs and against


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products of lesser quality and price. The Court holds that Ford has demonstrated irreparable

injury.

          2. Money Damages are Inadequate — While money damages may be adequate for

New World’s past infringement, it is no so for future infringement. Visto Corp. v. Seven

Networks, Inc., 2006 WL 3741891, at *4 (E.D. Tex. Dec. 19, 2006). The record supports a

continued threat of infringement by New World, as well as a willingness to alter sales

records. Under the facts of this case, an injunction against continued use of Ford’s products

is the only proper remedy to prevent future infringement .

          3. The Balance of Hardships Favors Ford — The Court agrees with Ford that if an

injunction is not entered Ford will suffer loss of sales, reputational harm, and the loss of the

right to exclude. Conversely, the injunction would only require New World to cease

infringing sales for a limited time period, as required by law.

          4. The Public Interest Is Best Served by Issuing Injunctive Relief — The Court

agrees that the public interest will be served by issuing an injunction. Patent laws promote

progress by incentivizing inventors through the right of exclusion. And enjoining the sale

of the infringing products would not pose any threat to the public safety.

                C. The Court Grants Ford’s Request for Recovery of Profits
                           and Pre and Postjudgment Interest

          Ford seeks an additional $41,721.60 in profits New World made on infringing sales

after June 22, 2018 through entry of the permanent injunction. This amount is consistent

with the jury’s adoption of Ryan Lamotta’s forecast of infringing sales, and New World does




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not specifically challenge this sum. Accordingly, the Court awards Ford an additional

$41,721.60.

       The Court additionally grants Ford’s request for pre and postjudgment interest. New

World argues that prejudgment interest is unavailable. The Court disagrees. Ford requests

prejudgment interest pursuant to 35 U.S.C. § 284, which permits the Court to award the

claimant damages, together with “interest and costs as fixed by the court.” New World does

not specifically challenge Ford’s request for postjudgment interest, other than to generally

assert that New World believes Ford is not entitled to judgment at all. The Court therefore

grants Ford’s motion for pre and postjudgment interest.

          IV. THE COURT DENIES NEW WORLD’S MOTIONS FOR JUDGMENT
                   AS A MATTER OF LAW AND FOR NEW TRIAL

       The Court denies New World’s motions for judgment as a matter of law and for new

trial. The Court rejects New World’s arguments and holds that there is sufficient evidence

to support the jury verdict.

                                       CONCLUSION

       The Court grants Ford’s motion for attorneys’ fees in the amount of $2,108,672.50,

but denies its request for expert fees and an upward judgment of the lodestar. The Court

grants Ford’s motion for injunction, but only with respect to the four remaining unexpired

patents. The Court likewise grants Ford’s requests for additional recovery of profits and pre

and postjudgment interest. The Court also notes that the parties stipulated to an agreed




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prejudgment interest amount of $75,000.00. Finally, the Court denies New World’s motions

for judgment as a matter of law and for new trial.



       Signed April 9, 2019.



                                                 _________________________________
                                                           David C. Godbey
                                                      United States District Judge




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